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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-3190                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                     Filed On: January 23, 2024
United States of America,

              Appellee

      v.

Donald J. Trump,

              Appellant


      BEFORE:       Millett, Pillard, and Garcia, Circuit Judges


                                        ORDER

       Upon consideration of appellant’s petition for panel rehearing filed on December
18, 2023, and the request for administrative stay, it is

      ORDERED that the petition be denied. It is,

      FURTHER ORDERED that the request for administrative stay be denied.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
